                                                                                    Motion GRANTED.




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )   Criminal No. 3:10-00163-32
                                                  )   Judge Trauger
KENNETH GADDIE                                    )

               DEFENDANT’S MOTION FOR CONTINUANCE OF TRIAL DATE

       Defendant, Kenneth Gaddie, hereby moves the Court for a continuance of the trial date in

this case, which is currently scheduled for March 18, 2014.         As grounds for this Motion,

undersigned counsel state that they need additional time to prepare for trial, especially in view of

the gravity of the charges against Defendant.

       The Second Superseding Indictment charges Defendant with RICO conspiracy (Count

One), a violation of 18 U.S.C. § 924(c) (Count Five), and conspiracy to use and carry firearms

during and in relation to crimes of violence in violation of 18 U.S.C. § 924(o) (Count Twenty-

Seven). The RICO conspiracy count carries a maximum sentence of life imprisonment. On the

alleged facts of this case, a conviction on Count Five would carry a mandatory minimum

sentence of ten years, and a maximum of life imprisonment. Count Twenty-Seven carries a

maximum sentence of twenty years.

       The Court appointed undersigned counsel to represent Defendant on January 8, 2014,

upon his rendition to this District from the Northern District of Illinois, and his arraignment took

place the same day. The government produced voluminous discovery materials on January 29.

Undersigned counsel delivered a copy of the discovery materials to Defendant on February 6 and

met with him.     Defendant is being detained in the Grayson County Detention Center in

Leitchfield, Kentucky, which is over a two-hour drive from Nashville.




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